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                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-04-MLB
                                             )
JAMES BLACK,                                 )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
           This case comes before the court on defendant’s motion to
dismiss on the basis that he has been denied his right to a speedy
trial.       (Doc. 774).      The motion is fully briefed and ripe for
decision. (Doc. 778).         The motion is denied for the reasons herein.
                                    Analysis1
       Defendant’s     motion    addresses       two    types     of   speedy   trial
violations.      First, defendant asserts that his Sixth Amendment right
to a speedy trial has been violated because this case was originally
indicted four years ago and has yet to go to trial. Second, defendant
contends, in a short paragraph, that the Speedy Trial Act has been
violated.      The court will address each argument in turn.
              Violation of Defendant’s Sixth Amendment Rights


       1
       A discussion of the history of events which occurred during the
years 2007, 2008 and 2009, can be found in this court’s memorandum and
order dated December 21, 2009. See Doc. 644. The second superceding
indictment against defendant was dismissed in November 2009.
Defendant was not indicted again until June of this year.
     In addition, the government’s response (Doc. 778) accurately
summarizes the history of this case. When defendant’s positions are
considered in the context of all the facts, they lose much of their
force and effect.
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     Defendant contends that the entire length of delay from the
filing of the initial indictment until now has become “presumptively
prejudicial.”   “[T]o trigger a speedy trial analysis, an accused must
allege that the interval between accusation and trial has crossed the
threshold dividing ordinary from ‘presumptively prejudicial’ delay.”
United States v. Larson, 627 F.3d 1198, 1208 (10th Cir. 2010).                        A
delay of at least one year is presumptively prejudicial. Id. Because
the delay in this case is approaching four years and defendant has
spent at least one of those years in custody, defendant has shown a
presumptively prejudicial delay.
     The court then considers the following four factors: 1) the
length of the delay; 2) the reason for the delay; 3) defendant's
assertion of his speedy trial right; and 4) if the delay prejudiced
defendant. Id. at 1208-09.           As to the first factor, the court must
look at the total length of the delay.               In this case, the total delay
is approaching four years.           Out of those four years, one year of the
delay during 2008-2009 was the result of a successful appeal taken by
the government to the Tenth Circuit from a ruling involving a co-
defendant,    Michael      Biglow.      See    Doc.     212.     Defendant      argues,
unpersuasively and without authority, the government could have
continued its case against him. Perhaps, but he has not offered any
analysis of the appropriateness of such a severance in this, a
conspiracy case.   After the appeal was decided, the government filed
a superceding indictment but then dismissed that indictment after a
ruling by this court on the admissibility of the co-conspirator
statements.     The     time     between      that    dismissal     and   the    fourth
superceding   indictment       was    approximately       eighteen     months.     The

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allegations in the indictment, however, are complex and involve
multiple defendants.       See United States v. Seltzer, 595 F.3d 1170,
1176 (10th Cir. 2010)(the court must consider the complexity of the
case while weighing the first factor).              Nevertheless, a four year
delay is more than four times the average delay and therefore, the
first factor weighs in favor of finding a violation of defendant’s
Sixth Amendment rights.       Id. at 1177.
     The   second   factor    requires      the   government     “to   provide   an
acceptable rationale for the delay.”              Seltzer, 595 F.3d at 1177.
Delays attributable to defendant cannot weigh against the government
but a “deliberate attempt to delay the trial in order to hamper the
defense should be weighted heavily against the government.”                  Larson,
627 F.3d at 1208.    During the time periods in which an indictment was
active against defendant, the delays were largely attributable to
defendant and his co-defendants.            Defendant filed several motions,
including motions for continuances.               In addition, defendant pled
guilty and then withdrew his plea.           While it may be that the delays
during the periods of dismissal are the result of the government’s
actions, the court does not find that the government’s actions were
taken as deliberate attempts to delay the trial and defendant does not
contend otherwise.     As to the first delay, the government took an
appeal and was ultimately successful.             Therefore, this delay should
not be weighed against the government.             As to the second long delay
of eighteen months, the government asserts that it was prepared to
file an indictment against defendant and other co-defendants shortly
after the second dismissal but did not do so after learning of an
illness in one of the co-defendant’s family members.                   That family

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member ultimately died this past spring and the government filed the
fourth superceding indictment after a sufficient mourning period
passed.    Defendant     does    not    dispute    these       contentions    by   the
government.    Because both the government and defendant contributed to
delay, the court finds that this second factor does not weigh in favor
of either party.
     The third factor, defendant's assertion of his speedy trial
right, is given strong evidentiary weight. Seltzer, 595 F.3d at 1179.
The sooner a defendant “raises the speedy trial issue, the more weight
this factor lends to his claim.” Id. (citing Jackson v. Ray, 390 F.3d
1254, 1263 (10th Cir. 2004)).          Defendant has not asserted his speedy
trial rights until now.         At one point, defendant objected to the
dismissal of the indictment by the government but did not object on
speedy trial grounds. Defendant nevertheless argues, without citation
to authority, that this was “. . . in effect a specific invocation of
his right to a speedy trial.”           The court rejects the argument that
assertion of a right as well established as speedy trial somehow can
be implied from motions raising other grounds.                   Thus, this factor
weighs heavily against defendant as this motion is the first instance
in which defendant has asserted his right to a speedy trial.
     In determining the fourth factor, whether the delay prejudiced
defendant, the burden of proof is on defendant.                Seltzer, 595 F.3d at
1179; United States v. Toombs, 574 F.3d 1262, 1275 (10th Cir. 2009).
With regard to whether a defendant has made a particularized showing
of prejudice, the Tenth Circuit has identified three main interests:
“(i) the prevention of oppressive pretrial incarceration; (ii) the
minimization    of   anxiety    and    concern    of   the     accused;   and   (iii)

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minimization of the possibility that the defense will be impaired.”
Seltzer, 595 F.3d at 1179; see also Toombs, 574 F.3d at 1275. The most
important interest is impairment of the defense.                   Id. at 1179-80.
        While defendant has been incarcerated more than one year in
pretrial custody, he is not currently in custody but rather is on
bond.    With respect to the second interest, defendant asserts that he
has significant anxiety because of the pressure he is facing from
other citizens in his community and the need to move on with his life.
This argument would be more persuasive to the court if defendant had
sought his right to a speedy trial at some point earlier in time.                        As
to impairment of his defense, however, the most important interest,
defendant has only identified an alleged difficulty for defense
counsel to confer with Tyrone Andrews, a co-defendant who previously
plead    guilty,    because     he   is   incarcerated.           While   it     may   make
communication more difficult, an incarcerated witness does not equate
to an unavailable witness. A defense is hindered when a defendant can
no longer use a certain witness. Toombs, 574 F.3d at 1275. Defendant
has only established a “mere possibility” of prejudice which is
insufficient for establishing a Sixth Amendment violation.                       Jackson,
390 F.3d at 1264.      Defendant alludes to other unidentified “potential
defense witnesses” but he does not explain how Andrews or any other
witness will provide favorable, relevant evidence, much less that he
cannot produce such evidence because of the delay.
        Even   assuming   the     first    two   interests        were    to     weigh   in
defendant’s favor, the prejudice factor would not weigh in defendant’s
favor because he has not established that the delay prejudiced his
defense.       See Toombs, 574 F.3d at 1276 (“Since the hindrance to the

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defense is the most important interest, and the defense was not
significantly hindered here, the prejudice factor does not weigh in
favor of Toombs.”)
       Although the delay was presumptively prejudicial, the second
factor does not weigh in defendant’s favor, the third factor weighs
heavily against defendant, and the fourth does not weigh in his favor.
In balancing the factors, the court finds that defendant has not made
out a Sixth Amendment speedy trial violation.            See, e.g., Toombs, 574
F.3d at 1276.
                                 Speedy Trial Act
       Finally, defendant contends that the Speedy Trial Act has been
violated in this case.       “The Speedy Trial Act [in 18 U.S.C. § 3161]
requires that the trial of a criminal defendant commence within
seventy days of the filing of the indictment, or from the date that
the defendant first appears before a judicial officer, whichever is
later.”   United States v. Gomez, 67 F.3d 1515, 1519 (10th Cir. 1995);
see also United States v. Lugo, 170 F.3d 996, 1001 (10th Cir. 1999).
In asserting a violation of the Act, defendant’s brief surmises that
more   than   70   days   have   elapsed    from   the   time    of   the     original
indictment. Defendant, however, has failed to adequately document the
sequence of events in this case, as noted by the government in her
response. Notably, defendant failed to discuss that he entered a plea
of guilty in this case and then moved to withdraw that plea after the
government dismissed the indictment in June 2008.               More importantly,
defendant failed to discuss how the multiple motions filed by his
counsel have affected the speedy trial calculation.
       After determining the government’s calculation to be correct, the

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court adopts the government’s discussion of the Act and finds that
there has been no violation in this case.
                                Conclusion
     Defendant’s motion to dismiss is denied.            (Doc. 774).


     IT IS SO ORDERED.
     Dated this    3rd     day of November 2011, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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